                     UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF ILLINOIS

 In re: PARAQUAT PRODUCTS LIABILITY                            * Case No. 3:21-md-3004-NJR
 LITIGATION                                                    *
                                                               * MDL No. 3004
 This Document Relates to:                                     *
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 Ontek v. Syngenta AG, et al., No. 3:23-pq-3591                *
 Farman v. Syngenta AG, et al., No. 3:23-pq-3592               *
 Ferguson v. Syngenta AG, et al., No. 3:23-pq-3599             *
 Johnson v. Syngenta AG, et al., No. 3:23-pq-3615              *
 Fletcher v. Syngenta AG, et al., No. 3:23-pq-3616             *
 Miner v. Syngenta AG, et al., No. 3:23-pq-3652                *
 Ohannessian v. Syngenta AG, et al., No. 3:23-pq-3661          *
 Brooks v. Syngenta AG, et al., No. 3:23-pq-3706               *
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     RUTHERFORD LAW PLAINTIFFS’ OBJECTIONS TO SPECIAL MASTER’S
       MAY 30 REPORT AND RECOMMENDATIONS RE: OVERDUE PAQS

        Plaintiffs listed above and represented by undersigned counsel at Rutherford Law PC,

respectfully submit and file these objections to the Special Master’s May 30, 2024, Report and

Recommendation regarding Overdue Plaintiff Assessment Questionnaires.

    I. FACTUAL BACKGROUND

        The Special Master’s Report recommends dismissal without prejudice for eight complaints

filed by Rutherford Law PC. ECF No. 5280-1 at p. 8. Counsel has voluntarily dismissed four of

these plaintiffs, reserving all rights to refile if and when appropriate. The four remaining Plaintiffs,

Mr. Stephen Farman, Ms. Sherry Ferguson, Ms. Theresa Miner, and Mr. George Ohannessian

(through his surviving daughter) have all submitted complete Plaintiff Assessment Questionnaires

with the requisite signed authorizations, signed verification, and medical records showing a

Parkinson’s diagnosis.
          Undersigned counsel filed his first Complaint into this well-organized MDL on November

3, 2023. Counsel read through the Court’s Case Management Orders, information from lead

counsel, guides to electronic filing into this MDL, the paraquat portal guide, and most other items

he could find to instruct him in best practices. He was aware and mindful of this Court’s orders

regarding meritless claims and endeavored to ensure each Complaint he filed had the required

factual support and documentation before filing. If it became clear that a filed complaint would

need to be dismissed, he submitted the voluntary dismissal. See ECF No. 3, Matheis v. Syngenta

AG, et al., No. 3:23-pq-3590.

   II.       RELEVANT LAW AND CASE MANAGEMENT ORDERS

          Plaintiffs bring these objections pursuant to Federal Rule of Civil Procedure 53(e)-(f) and

Local Rule 73.1. Under these Rules a party may object to and/or move to modify a special master’s

report and recommendations “no later than 21 days after a copy is served.” Fed. R. Civ. P. 53 (f).

          Case Management Order No. 10, ECF 4866, instructs that a Plaintiff’s responses to the

assessment questionnaire “shall be considered the same as” responses to interrogatories and

requests for production of documents. Governed by Federal Rules of Civil Procedure Nos. 33, 34,

and 37.

          Under the CMO deadlines are to be taken seriously and all counsel are to work diligently

to achieve them. If a plaintiff receives notice from a defendant that their PAQ is overdue or

deficient, they have 30 days under the CMO before the defendant can file for review of the

deficiency by the Special Master. If a Plaintiff is called up in a deficiency notice but the Special

Master’s review finds that they have completed a substantially complete PAQ on the Portal, “the

Plaintiff’s PAQ shall be deemed complete.” CMO 10 at VI(3).




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          And while failure “to articulate a reason that justified [counsel’s] delay in submitting a

PAQ” is insufficient to sustain an objection, this honorable Court has found good cause for

discovery delay when the moving party has remained diligent amidst circumstances outside of

their control. See J.F. by Sifuentes v. Abbott Lab’ys, Inc., No. 14-CV-847-NJR-SCW, 2017 WL

992781, at *2 (S.D. Ill. Mar. 15, 2017).

   III.      ARGUMENT

          Plaintiffs Farman, Ferguson, Miner, and Ohannessian have each submitted a substantially

complete PAQ with signed authorizations, verification, and all available medical and supporting

records. Each began the process of completing the PAQ shortly after their complaints were filed.

At the time he filed the complaints, undersigned counsel was staffed with two attorneys in

addition to himself. Unfortunately for him, but fortunately for his colleagues, who each found

positions better aligned with their interests and goals, he saw both attorneys leave the firm, one

at the end of December, and one at the end of January. Leaving him the only attorney at the firm.

          Aware of the deficiency notices, counsel and his staff remained diligent, reviewing

medical records and working with Plaintiffs, each of whom are in varying stages of Parkinson’s

with varying memory recall, to complete their PAQs. Many of these had been completed but

simply awaited his review as the attorney in charge, and unfortunately still only attorney on staff.

          As such while not produced to the Defendants until June 11 (Ferguson, Miner, and

Ohannessian) and June 20 (Farman), these Plaintiffs had submitted information and worked

consistently during the five to six months since filing their complaints to complete all information

on the PAQ.

          Counsel is currently interviewing for additional attorneys at the firm and apologizes for

his delay. Counsel also submits that the intervening time between filing the Complaints and




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Defendants’ receipt of the PAQs was insufficient to prejudice them in their defense of these cases

and this MDL. He respectfully requests the Court refuse to accept the portion of the Special

Master’s Report recommending dismissal of Farman, Ferguson, Miner, and Ohannessian.

DATE: June 20, 2024
                                                          /s/ Jack Griffith Rutherford
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                                                          Counsel for Plaintiffs Robert Ontek,
                                                          Stephen Farman, Sherry Ferguson,
                                                          Donald Fletcher, Theresa Miner, George
                                                          Ohannessian, & Agnes Brooks


                                  CERTIFICATE OF SERVICE

       I hereby certify that on this 20th day of June 2024, I electronically filed the foregoing with

the Clerk of Court by using the CM/ECF system, which will send a notice of the electronic filing

to all counsel registered for electronic service.

                                                          /s/ Jack G. Rutherford




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